            Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   ATHENS DIVISION

KEVIN M. BROWN, SR.
                                                               CASE NO.:
       Plaintiff,

v.                                                             JURY TRIAL DEMANDED

MAURY COBB, ATTORNEY AT LAW, LLC
a foreign limited liability company, and
CREDENCE RESOURCE MANAGEMENT, LLC
a foreign limited liability company,

      Defendant.
_______________________________/

                                           COMPLAINT

       Plaintiff, Kevin M. Brown, Sr. (“Plaintiff”), by and through his undersigned counsel, files

suit against Maury Cobb, Attorney at Law, LLC (“Maury Cobb”) and Credence Resource

Management, LLC (“Credence”) (collectively “Defendants”), and states as follows:

                                      NATURE OF ACTION

       1.      Plaintiff brings this action pursuant to 47 U.S.C. § 227 et seq., the Telephone

Consumer Protection Act (“TCPA”) and 15 U.S.C. § 1692 et seq, the Fair Debt Collection Practices

Act (“FDCPA”). Fundamentally, this case concerns the Defendants’ refusal to respect Plaintiff's

personal legal rights in its attempts to collect an alleged debt.

                                  JURISDICTION AND VENUE

       2.      Federal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff

brings a claim under the TCPA, 47 U.S.C. § 227 et seq.




                                                   1
            Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 2 of 9



       3.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a substantial

part of the events or omissions giving rise to the claims and injuries occurred in the Middle District

of Georgia. Plaintiff suffered injuries in Oconee County, Georgia.

                                              PARTIES

       4.        Plaintiff, Kevin Brown, is a natural person who resides in Oconee County, Georgia.

Plaintiff is a “person” under 47 U.S.C. § 227.

       5.        Defendant, Maury Cobb, Attorney at Law, LLC, is headquartered in Alabama, has

its principal place of business located in Alabama, does business in the State of Georgia and is a

“person” under 47 U.S.C. § 227 and a “debt collector” under 15 U.S.C. § 1692.

       6.        Defendant, Credence Resource Management, LLC, is headquartered in Nebraska,

has its principal place of business in Texas, does business in the State of Georgia, and is a “person”

under 47 U.S.C. § 227 and a “debt collector” under 15 U.S.C. § 1692.

       7.        Defendants, in the conduct of their businesses, use one or more instrumentalities of

interstate commerce or the mails, including, without limitation, electronic communication to

communicate with Plaintiff.

       8.        The conduct of Defendants was authorized, approved and/or ratified by one or more

officers, directors, or managers of Defendants, and/or they knew in advance that the Defendants

were likely to conduct themselves and allowed themselves to so act with conscious disregard of

the rights and safety of others. The agent(s) or employee(s) of Defendants acted within the course

and scope of such agency or employment and acted with the consent, permission and authorization

of Defendants.




                                                   2
             Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 3 of 9



                                         BACKGROUND

        9.      On May 11, 2017, Plaintiff filed for chapter 7 bankruptcy. Case No. 8:17-bk-

04080-CPM.

        10.     In his bankruptcy petition, Plaintiff included a $1,244.26 debt allegedly owed to T-

Mobile (the “Alleged Debt”).

        11.     In approximately September of 2017, Maury Cobb began calling Plaintiff’s cell

phone in attempts to collect on the Alleged Debt.

        12.     Approximately at time same time, Plaintiff told Maury Cobb that the Alleged Debt

was included in Plaintiff’s bankruptcy and gave Maury Cobb his bankruptcy attorney’s

information.

        13.     Despite Plaintiff’s telling Maury Cobb that his debt was included in the bankruptcy

as well as his bankruptcy attorney’s information, Maury Cobb continued to call Plaintiff everyday

at least once a day.

        14.     Maury Cobb called from several numbers, including from the number (706) 955-

4857.

        15.     On November 17, 2017, Maury Cobb sent Plaintiff a letter in an attempt to collect

on the Alleged Debt. The letter, addressed to Plaintiff, asks Plaintiff to make his check payable to

Maury Cobb’s address. A copy of this letter is attached as Exhibit A.

        16.     Maury Cobb placed calls to Plaintiff’s cell phone using an automated telephone

dialing system, without Plaintiff’s express consent, because Maury Cobb utilized pre-recorded

voice messages when Plaintiff answered a call from Defendant and Defendant left pre-recorded

automatic voice messages when Plaintiff did not answer Defendant’s call.




                                                 3
            Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 4 of 9



          17.   In approximately March of 2018, Credence called Plaintiff in an attempt to collect

on the Alleged Debt. During that phone conversation, Plaintiff told Credence that Plaintiff’s debt

was included in his bankruptcy and also gave Credence his bankruptcy attorney’s information.

          18.   Despite notifying Credence that the Alleged Debt was included in his bankruptcy

and despite giving Credence his attorney’s information, on March 13, 2018, Credence sent Plaintiff

a letter in an attempt to collect on the Alleged Debt. This letter is attached as Exhibit B.

          19.   As detailed below, Defendants’ conduct constitutes a violation of the TCPA and

FDCPA.

                                             COUNT I

                       VIOLATION OF THE TCPA BY MAURY COBB

          20.   This is an action against Maury Cobb for violations of the TCPA, 47 U.S.C. § 227

et seq.

          21.   Plaintiff re-alleges and reincorporates paragraphs 1 through 19, as if fully set forth

herein.

          22.   Maury Cobb, in the conduct of its business, used an automatic telephone dialing

system defined by 47 U.S.C. § 227(a)(1)(A) to communicate with Plaintiff.

          23.   Section 47 U.S.C. § 227(b)(1)(A)(iii) provides in pertinent part:

                It shall be unlawful for any person within the United States –

                (A) to make any call (other than a call made for emergency purposes or
                made with the prior express consent of the called party) using any automatic
                telephone system or an artificial or prerecorded voice --

                       (iii) to any telephone number assigned to a paging service, cellular
                       telephone service, specialized mobile radio service, or other radio
                       common carrier service, or any service for which the called party is
                       charged for the call;




                                                  4
             Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 5 of 9



       24.      Maury Cobb violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing calls to Plaintiff's

cell phone using an automatic telephone dialing system without Plaintiff's express consent.

       25.      Maury Cobb willfully, knowingly, and intentionally made multiple calls to

Plaintiff's cell phone utilizing an automatic telephone dialing system after Plaintiff told Maury

Cobb that the Alleged Debt was included in Plaintiff’s bankruptcy and that Plaintiff had a

bankruptcy attorney.

       26.      All conditions precedent to this action have occurred, have been satisfied, or have

been waived.

       27.      As a result of the above violation of the TCPA, Maury Cobb is liable to Plaintiff for

actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,

pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

       28.      Based upon the willful, knowing, and intentional conduct of Maury Cobb as

described above, Plaintiff is also entitled to an increase in the amount of the award to treble the

damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §

227(b)(3).

       WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against Maury

Cobb: (1) finding that Maury Cobb violated the TCPA; (2) awarding Plaintiff actual damages or

the amount of $500.00 in damages for each violation, whichever is greater; (3) finding that Maury

Cobb willfully, knowingly, and intentionally violated the TCPA and increasing the damages award

to treble the amount of damages otherwise to be entered as a judgment; and (4) awarding Plaintiff

any and all such further relief as is deemed necessary and appropriate.




                                                  5
            Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 6 of 9



                                              COUNT II

                        VIOLATION OF THE FDCPA BY MAURY COBB

          29.    This is an action against Maury Cobb for violation of 15 U.S.C. § 1692 et seq.

          30.    Plaintiff re-alleges and incorporates paragraphs 1 through 19, as if fully set forth

herein.

          31.    The FDCPA provides, in pertinent part:

          15 U.S.C. § 1692c

          [a] debt collector may not communicate with a consumer in connection with the
          collection of any debt –

          - if the debt collector knows the consumer is represented by an attorney with respect
          to such debt and has knowledge of, or can readily ascertain, such attorney's name
          and address, unless the attorney fails to respond within a reasonable period of time
          to a communication from the debt collector or unless the attorney consents to direct
          communication with the consumer.

          15 U.S.C. § 1692d

          A debt collector may not engage in any conduct the natural consequence of which is to
          harass, oppress, or abuse any person in connection with the collection of a debt.

          15 U.S.C. § 1692e

          A debt collector may not use any false, deceptive, or misleading representation or means
          in connection with the collection of any debt.

          15 U.S.C. § 1692f

          A debt collector may not use unfair or unconscionable means to collect or attempt to collect
          any debt.

          32.    Through its conduct, described above, Maury Cobb directly and through its agents

violated the above sections of the FDCPA.

          33.    As a result of Maury Cobb violation of the FDCPA, Plaintiff is entitled to: (a) actual

damages pursuant to 15 U.S.C. § 1692k(a)(1); (b) statutory damages, pursuant to 15 U.S.C. §




                                                   6
            Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 7 of 9



1692k(a)(2)(A); (c) reasonable attorneys’ fees and costs, pursuant to 15 U.S.C. § 1692k(a)(3); and

(d) all other relief Plaintiff is entitled to under the law.

          34.    All conditions precedent to this action have occurred, have been satisfied or have

been waived.

          Plaintiff respectfully requests this Court enter a judgment in Plaintiff's favor finding that

Maury Cobb has violated the FDCPA; awarding Plaintiff actual damages, statutory damages,

attorneys’ fees and costs, together with any and all such further relief as is deemed necessary or

appropriate.

                                               COUNT III

                         VIOLATION OF THE FDCPA BY CREDENCE

          35.    This is an action against Credence for violation of 15 U.S.C. § 1692 et seq.

          36.    Plaintiff re-alleges and incorporates paragraphs 1 through 19, as if fully set forth

herein.

          37.    The FDCPA provides, in pertinent part:

          15 U.S.C. § 1692c

          A debt collector may not communicate with a consumer in connection with the
          collection of any debt –

          - if the debt collector knows the consumer is represented by an attorney with respect
          to such debt and has knowledge of, or can readily ascertain, such attorney's name
          and address, unless the attorney fails to respond within a reasonable period of time
          to a communication from the debt collector or unless the attorney consents to direct
          communication with the consumer.

          15 U.S.C. § 1692d

          A debt collector may not engage in any conduct the natural consequence of which is to
          harass, oppress, or abuse any person in connection with the collection of a debt.




                                                     7
           Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 8 of 9



        15 U.S.C. § 1692e

        A debt collector may not use any false, deceptive, or misleading representation or means
        in connection with the collection of any debt.

        15 U.S.C. § 1692f

        A debt collector may not use unfair or unconscionable means to collect or attempt to collect
        any debt.

        38.     Through its conduct, described above, Credence directly and through its agents

violated the above sections of the FDCPA.

        39.     As a result of Credence’s violation of the FDCPA, Plaintiff is entitled to: (a) actual

damages pursuant to 15 U.S.C. § 1692k(a)(1); (b) statutory damages, pursuant to 15 U.S.C. §

1692k(a)(2)(A); (c) reasonable attorneys’ fees and costs, pursuant to 15 U.S.C. § 1692k(a)(3); and

(d) all other relief Plaintiff is entitled to under the law.

        40.     All conditions precedent to this action have occurred, have been satisfied or have

been waived.

        Plaintiff respectfully requests this Court enter a judgment in Plaintiff's favor finding that

Credence has violated the FDCPA; awarding Plaintiff actual damages, statutory damages,

attorneys’ fees and costs, together with any and all such further relief as is deemed necessary or

appropriate.




                                                     8
          Case 3:18-cv-00074-CAR Document 1 Filed 06/13/18 Page 9 of 9



                                DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const. Amend.

7 and Fed. R. Civ. P. 38.

       RESPECTFULLY SUBMITTED this 13th day of June, 2018.

                                             Respectfully Submitted,

                                             TOLICUS LAW, PLLC

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                                                9
